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 4
 5   Attorney for Defendant
     GARY ROBERTS
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 7
 8                         IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                           Case No.: 2:17-CR-00064 JAM
11   UNITED STATES OF AMERICA,
12                                  Plaintiff,             STIPULATION AND [PROPOSED]
                                                           ORDER TO MODIFY PRETRIAL
13          v.                                             RELEASE CONDITION REGARDING
                                                           CASINOS
14   GARY ROBERTS,
15                                  Defendant.
16
17
18          IT IS HEREBY STIPULATED by and between the parties through their respective
19   counsel, Etan Zaitsu, attorney for defendant Gary Roberts, and Amanda Beck, Assistant United
20   States Attorney, that the defendant’s special condition of release #14 (ECF Dkt. No. 67) be
21   modified to read as follows:
22          “14. You are prohibited from gambling. You are also prohibited from entering any
23   gambling establishment unless accompanied by your attorney or defense investigator for the
24   purpose of requesting and collecting documents and records in support of your legal defense.”
25          The modification is necessary to facilitate efficient and prompt gathering of relevant
26   documents and records in preparation for trial.
27          Pretrial Services Officer Steve Sheehan does not oppose the request and stipulation.
28


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     Stipulation For Modification of Pretrial Release Condition
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 1          Accordingly, the parties respectfully request the Court adopt this proposed stipulation and
 2   order the Amended Special Conditions of Pretrial Release, attached hereto, filed and made a part
 3   of the record herein.
 4          IT IS SO STIUPULATED
 5
     Dated: December 29, 2017                            Respectfully submitted,
 6
 7                                                       /s/ Etan Zaitsu________
                                                         ETAN ZAITSU
 8                                                       Attorney for Defendant
                                                         GARY ROBERTS
 9
10   Dated: December 29, 2017                            /s/ Amanda Beck
                                                         AMANDA BECK
11                                                       Assistant U.S. Attorney
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     Stipulation For Modification of Pretrial Release Condition
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 1                                        [PROPOSED] ORDER
 2          Based upon the foregoing stipulation of the parties and with no opposition from the
 3   pretrial services officer, and good cause appearing, the Court grants the defendant’s request that
 4   the terms of the special conditions of release be modified as set forth above. The Amended
 5   Special Conditions of Pretrial Release is ordered filed. All other conditions of release are to
 6   remain in full force.
 7          IT IS SO ORDERED.
 8
     Dated: January 5, 2018
 9
                                                      _____________________________________
10                                                    CAROLYN K. DELANEY
                                                      UNITED STATES MAGISTRATE JUDGE
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     Stipulation For Modification of Pretrial Release Condition
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 1
 2                    AMENDED SPECIAL CONDITIONS OF RELEASE
 3                                                               Re: Roberts, Gary Mitchell
 4                                                               No.: 2:17-CR-0064-JAM-7
                                                                 Date: July 21, 2017 (original);
 5                                                               December 29, 2017 (amended)
 6
     1. Your release on bond will be delayed until 9:00am, on July 24, 2017, at which time you
 7      will be directly released from the U.S. Marshals to Pretrial Services.
 8
     2. You must report to and comply with the rules and regulations of the Pretrial Services
 9
        Agency;
10
     3. Upon successful completion of residential treatment, you must reside at a location
11      approved by the pretrial services officer and not move or absent yourself from this
12      residence for more than 24 hours without the prior approval of the pretrial services officer;

13   4. You must cooperate in the collection of a DNA sample;
14
     5. You must restrict your travel to Eastern District of California unless otherwise approved in
15      advance by the pretrial services officer;
16
     6. You must not obtain a passport or other travel documents during the pendency of this case;
17
18   7. You must not possess, have in your residence, or have access to a firearm/ammunition,
        destructive device, or other dangerous weapon; additionally, you must provide written
19
        proof of divestment of all firearms/ammunition currently under your control;
20
21   8. You must submit to drug and/or alcohol testing as approved by the pretrial services officer.
        You must pay all or part of the costs of the testing services based upon your ability to pay,
22      as determined by the pretrial services officer;
23
     9. You must not associate or have any contact with any named co-defendants in this pending
24
        federal case unless in the presence of counsel or otherwise approved in advance by the
25      pretrial services officer;
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     10. You must report any contact with law enforcement to your pretrial services officer within
27       24 hours;
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     Stipulation For Modification of Pretrial Release Condition
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     11. You must abstain from the use of alcohol or any use of a narcotic drug or other controlled
 1
         substance without a prescription by a licensed medical practitioner; and you must notify
 2       Pretrial Services immediately of any prescribed medication(s). However, medicinal
 3       marijuana, prescribed or not, may not be used;

 4   12. You must participate in the substance abuse treatment program at Wellspace Health
 5       Residential inpatient facility, and comply with all the rules and regulations of the program.
         You must remain at the inpatient facility until released by the pretrial services officer;
 6
 7   13. Upon completion of the residential program, you must participate in a program of medical
         or psychiatric treatment, including treatment for drug or alcohol dependency, as approved
 8
         by the pretrial services officer. You must pay all or part of the costs of the counseling
 9       services based upon your ability to pay, as determined by the pretrial services officer; and,
10
     14. You are prohibited from gambling. You are also prohibited from entering any gambling
11       establishment unless accompanied by your attorney or defense investigator for the purpose
12       of requesting and collecting documents and records in support of your legal defense.

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     Stipulation For Modification of Pretrial Release Condition
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     Stipulation For Modification of Pretrial Release Condition
